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                                      UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF OKLAHOMA

United States of America,
                                                         Plaintiff,
vs.                                                                           Case No.: 24-cr-00372-SEH

Osman Rolando Sanchez,

                                                  Defendant(s).

                                          AMENDED SCHEDULING ORDER

At the direction of Sara E. Hill, U.S. District Judge, it is hereby ordered that upon the initial appearance
and arraignment of Osman Rolando Sanchez, the following scheduled is entered as to the Defendant
listed above in accordance with the Order entered at ECF No. 111:
  Notices due:                                                                              5/27/2025
  Including all notices required by FRCrP and FRE, including Rule 16, 404(b), 412, 413, 414, or 609

  Motions and Objections to Notices due:                                                    6/10/2025
  Absent good cause, motions in limine shall be filed by this date. Motions for bill of particulars shall be filed pursuant to FRCrP 7(f).

  Pretrial Conferences/Motions Hearing:                                                     6/17/2025               at 9:15 a.m.
  Voir dire, jury instructions, stipulations and trial briefs due:                          6/30/2025
  Witness and exhibit lists exchanged between counsel and                                   7/3/2025                at 4:00 p.m.
  emailed to courtroom deputy (do not file):

 Counsel shall refer to all witnesses by their full names, rather than initials. In cases
 involving minors, the parties shall submit two (2) copies of the lists. The first shall
 use the minors’ full names. The second shall use the minors’ initials.

  Three hard copy exhibit binders delivered to Court:                                       7/3/2025                at 4:00 p.m.
  Jury Trial:                                                                               7/7/2025                at 8:45 a.m.


Pursuant to LCrR 47-2, any response shall be filed within seven days of any motion’s filing. Replies
are not permitted without leave of Court. If leave is granted, replies shall be limited to five pages.

The parties should meet and confer in good faith to discuss any stipulations that would streamline the
issues at trial. Any stipulations agreed to should be submitted by the date listed.

If the parties anticipate a lengthy pretrial/motion hearing, they are directed to promptly contact the
Courtroom Deputy and the hearing will be reset.




Scheduling Order-SEH                                                                                               (CR-04 Modified 2/2020)
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                                      Heidi D. Campbell, Clerk of Court


                                        s/ L. Lewis
                                       By: L. Lewis, Deputy Clerk




Scheduling Order-SEH                                                      (CR-04 Modified 2/2020)
